Case 2:06-cv-06720-JS-SIL Document 162 Filed 03/14/14 Page 1 of 2 PageID #: 2056




                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NEW YORK

                                                            )
JOHN RESTIVO, DENNIS HALSTEAD, MELISSA                      )
LULLO, JASON HALSTEAD, TAYLOR HALSTEAD,                     )
and HEATHER HALSTEAD,                                       )
                                                            )
                              Plaintiffs,                   )
                                                            )
                       -against-                            )
                                                            )
NASSAU COUNTY, CAROLANN HESSEMAN, AS                        )
EXECUTRIX FOR THE ESTATE OF JOSEPH VOLPE,                   )
in his individual capacity, ROBERT DEMPSEY,                 )
in his individual capacity, FRANK SIRIANNI,                 )
in his individual capacity, MILTON GRUBER,                  )
in his individual capacity, HARRY WALTMAN                          MOTION FOR A
                                                            )      WRITTEN JUROR
in his individual capacity ALBERT MARTINO,                  )
in his individual capacity, CHARLIE FRAAS,                            PLEDGE
                                                            )
in his individual capacity, THOMAS ALLAN                    )
in his individual capacity, RICHARD BRUSA,                  )
in his individual capacity, VINCENT DONNELLY,               )
in his individual capacity, MICHAEL                         )    06-CV-6720(JS)(WDW)
CONNAUGHTON, in his individual capacity,                    )
WAYNE BIRDSALL, in his individual capacity,                 )
WILLIAM DIEHL, in his individual capacity,                  )
JACK SHARKEY, in his individual capacity,                   )
DANIEL PERRINO, in his individual capacity,                 )
ANTHONY KOZIER, in his individual capacity,                 )
Detective Sergeant CAMPBELL, (Shield #48),                  )
in his individual capacity, SEAN SPILLANE,                  )
in his individual capacity, RICHARD ROE                     )
SUPERVISORS #1-10, in their individual                      )
capacities,                                                 )
                                                            )
                     Defendants.                            )


       “Due process means a jury capable and willing to decide the case solely on the evidence

before it.” Smith v. Phillips, 455 U.S. 209, 217 (1982); see also Turner v. Louisiana, 379 U.S.

466, 472–73 (1965) (explaining that the Constitution requires the jury’s verdict to be based

solely on evidence developed at trial).     As the ready accessibility of information on the
Case 2:06-cv-06720-JS-SIL Document 162 Filed 03/14/14 Page 2 of 2 PageID #: 2057




internet—through search engines and social media—grows, juror access to outside information

not developed and presented at trial also expands. Unfortunately, as the parties and the Court are

well aware, repeated instructions not to engage in outside research are not always sufficient to

prevent such external research. See 11/29/12 Tr. at 6191:15–92:3 (dismissing juror for

conducting outside research).

        Plaintiffs have learned that other courts have dealt with this problem by having jurors

sign a written pledge to follow the court’s instructions. Particularly, Plaintiffs understand that

Judge Shira A. Scheindlin required jurors to sign a juror pledge during a criminal trial in 2011.

Plaintiffs have attached a sample pledge, which we understand tracks the pledge used by Judge

Scheindlin at that trial, as Exhibit A.

        In an effort to inoculate this trial against any misconduct that could lead to yet a third trial

of this case, Plaintiffs respectfully request the Court require each impaneled juror to sign a

written pledge to follow the Court’s instructions and, specifically, not to engage in outside

internet research. Defendants have stated that they oppose this motion.


Dated: March 14, 2014                                   Respectfully submitted,
New York, NY

                                                         /s/ Anna Benvenutti Hoffmann
                                                        Barry C. Scheck
                                                        Peter Neufeld
                                                        Nick Brustin
                                                        Anna Benvenutti Hoffmann
                                                        Alexandra Lampert
                                                        NEUFELD SCHECK & BRUSTIN, LLP
                                                        99 Hudson St., 8th Floor
                                                        New York, NY 10013

                                                        Attorneys for Plaintiffs
                                                        John Restivo and Dennis Halstead




                                                   2
